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Attorneys for Defendant
BED BATH & BEYOND INC.

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA

TAYLOR MAGAZINER, Case No.
Plaintiff, Placer County Superior Court Case No.
SCV0039281
V.

BED BATH & BEYOND INC.’S NOTICE

BED BATH & BEYOND, INC., and OF REMOVAL AND REMOVAL OF

DOES 1 through 5, inclusive,

CIVIL ACTION TO FEDERAL COURT

Defendants. Complaint Filed: March 20, 2017

 

 

 

BED BATH & BEYOND’S NOTICE OF REMOVAL
TO FEDERAL COURT

Trial Date: None Set

CASE NO.

 
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1, On March 20, 2017, plaintiff Taylor Magaziner (“Magaziner”) filed a complaint
(“Complaint”) in the Superior Court entitled “TAYLOR MAGAZINER, Plaintiff vs. BED BATH

& BEYOND, INC., and DOES 1 through 5, inclusive, Defendant,” designated as Case No.

SCV0039281. A true and correct copy of the Summons and Complaint are attached as Exhibit
“A” to the Declaration of Kate S. Gold in Support of Defendant Bed Bath & Beyond Inc.’s
Removal to Federal Court (“Gold Decl.”).

2. On May 30, 2017, Plaintiff, through his counsel, caused a copy of the Summons
and Complaint to be served on Bed Bath & Beyond Inc. (“BBBY”). See Gold Decl., [ 2. No

other initial pleadings have been received by BBBY in this action. Accordingly, this Notice of

~ Removal is being filed within thirty (30) days after receipt by BBBY (the only named defendant)

and is timely filed pursuant to 28 U.S.C. § 1446(b).

3. Notice of this removal is being given to both the adverse party (Magaziner) and
the Superior Court pursuant to 28 U.S.C. § 1446(d). See Gold Decl., | 3 & Exh. B thereto.
Exhibits A through B to the declaration of Kate S. Gold constitute all process, pleadings, and
orders served on or by BBBY in this action. See Gold Decl., § 3.

4. Venue of this action exists in this district pursuant to 28 U.S.C. § 1441(a) because
the Superior Court is located within Placer County, within this district.

5. As further detailed below, this action is one over which this Court has original
jurisdiction and: may be removed to this Court pursuant to 28 U.S.C. §§ 1441 (a) and (b), on the
basis of diversity of citizenship jurisdiction, in that it is a civil action between citizens of different
states and the matter in controversy exceeds the sum of $75,000, exclusive of interest and costs.
28 U.S.C. § 1332.

6. There is Complete Diversity of Citizenship.

A. BBBY is informed and believes, and on that basis alleges, that Magaziner
is now, and was at the time this action was commenced, a citizen of the State of California within
the meaning of 28 U.S.C. § 1332(a), because his place of residence and domicile is and was
within the State of California. See Declaration of Lisa Herkness in Support of Bed Bath &
Beyond Inc.’s Removal of Civil Action to Federal Court (“Herkness Decl.”), § 6; Complaint, § 1.

BED BATH & BEYOND’S NOTICE OF REMOVAL -2-
TO FEDERAL COURT

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B. “fA] corporation shall be deemed to be a citizen of any [s]tate by which it

_ has been incorporated and of the [s]tate where it has its principal place of business.” 28 U.S.C. §

-1332(c)(1). BBBY is now, and was at the time this action was commenced, a citizen of a state

other than the State of California within the meaning of 28 U.S.C. § 1332(a), as follows: BBBY
is a corporation incorporated and organized under the laws of the State of New York. Declaration
of Michael H. Wilck in Support of Defendant Bed Bath & Beyond Inc.’s Removal to Federal
Court (“Wilck Decl.”), 3. Its principal offices are located at 650 Liberty Avenue, Union, New
Jersey 07083, and that is where executive-level decisions are made. Id. Thus, in addition to New
York, its place of incorporation, BBBY is also a citizen of the State of New Jersey for purposes of
diversity jurisdiction because its “principal place of business”—its “nerve center”—is located in
New Jersey.! See Hertz Corp. v. Friend, 599 U.S. 77, 130 S. Ct. 1181, 1186 (2010).

C. The presence of Doe defendants has no bearing on diversity with respect to
removal. See 28 U.S.C. § 1441(b)(1) (“[T]he citizenship of defendants sued under fictitious
names shall be disregarded.”).

D. Based on the foregoing, because Magaziner and BBBY are citizens of

_ different states, there is complete diversity of citizenship.

7. The Amount in Controversy Exceeds $75,000.
A. In his Complaint, Magaziner alleges that “[a]t a// times during his
employment, [he] was wrongfully classified as exempt from overtime.” Complaint, {5
(emphasis added). He claims he “was required to work a minimum of 10 hours a day in one of
sixteen stores to which he had been assigned, as well as spend additional hours traveling amongst
those stores.” Id. at | 6 (emphasis added). He also claims to have worked on-call hours. Jd. at

18. On this basis, Magaziner asserts claims for failure to pay overtime, failure to pay all wages

 

' Bven where a corporation engages in significant activities in a state, its principal place of
business remains the location of its “nerve center,” where corporate operations are run. See
L’Garde, Inc. v. Raytheon Space & Airborne Sys., 805 F. Supp. 2d 932, 940-41 (C.D. Cal. 2011)
(“Plaintiff assumes Defendant ... is a California company because of its highly visible business
activities within the state; however, Defendant has pled facts indicating its executive-level
decisions are made from [the] ... Company’s Waltham, Massachusetts headquarters and, under
the ‘nerve center’ test, the Court finds that to be determinative.”).

BED BATH & BEYOND’S NOTICE OF REMOVAL _3- CASE NO
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due at the time of termination, and failure to keep accurate timecards. See id. at {J 13-22.
Magaziner also asserts a claim for defamation. Jd. at [J 23-25.

B. As aresult of BBBY’s alleged conduct, Magaziner claims to have been
“exposed to contempt” that has caused him “to be injured in his occupation and reputation.”
Complaint, § 24. He seeks compensatory damages, special damages, general damages, punitive
damages, interest, costs, and attorneys’ fees. Jd. at pp. 5:23-6:4.

C. Magaziner’s failure to specify in his Complaint the amount of damages he
seeks does not deprive this Court of jurisdiction. See Levine v. BIC USA, Inc., No. 07¢v1096-
LAB (RBB), 2007 U.S. Dist. LEXIS 60952, at *7-8 (C.D. Cal. Aug. 19, 2007). Ifa plaintiff's
complaint is silent as to the amount of claimed damages, then the removing defendant need only
establish that it is more probable than not that the plaintiff's claims exceed the jurisdictional
minimum. See Sanchez y. Monumental Life Ins. Co., 102 F.3d 398, 404 (9th Cir. 1996). Here,
based on the nature of the allegations, Magaziner’s compensation at BBBY, the multiple damages
sought, and Magaziner’s own admission in a settlement demand letter, Magaziner has placed in
controversy an amount exceeding $75,000, exclusive of costs and interest.

Settlement Demand Letter

(1) Magaziner’s own admissions in a settlement demand letter support
this conclusion. In the letter, Magaziner contends that $220,000 is in controversy (Gold Decl.,
Exh. F at p. 6): $70,000 for overtime pay (id. at p. 2); $4,000 for allegedly inaccurate wage
statements (id.); $6,923 for waiting time penalties (id. at p. 3); and $139,077 for defamation (see
id. at pp. 3-6). Accordingly, the amount in controversy clearly exceeds $75,000, exclusive of
interest and costs. See Cohn v. Petsmart, Inc., 281 F.3d 837, 840 (9th Cir. 2002) (“A settlement
letter is relevant evidence of the amount in controversy if it appears to reflect a reasonable
estimate of the plaintiff's claim.”).

Allegations in the Complaint

(ii) Setting aside Magaziner’s own contentions, the nature of the

allegations in the Complaint also supports a finding that more than $75,000 is in controversy.

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Overtime Claim:

(iii) | Magaziner claims that since his employment began “on or about
June 24, 2011,” he was “wrongfully classified as exempt from overtime.” Complaint, 5. He
also claims that “[u]pon his hire, [he] was required to work a minimum of 10 hours a day in one
of sixteen stores to which he had been assigned, as well as spend additional hours traveling
amongst those stores.” Id. at § 6 (emphasis added). He further claims that “[dJuring his
employment, [his] responsibilities increased to include responsibility for twenty-two stores.” Id.

(iv) | Magaziner’s employment terminated on June 30, 2016. Herkness
Decl., 7; see also Complaint, { 9. While employed, Magaziner earned a salary of $52,224.12 as
of May 7, 2013; $56,402.06 as of May 7, 2014; $57,643.04 as of May 6, 2015; and $58,911.32 as
of May 3, 2016. Id, at §8. Accordingly, taking a conservative approach by (1) assuming that
Magaziner worked only 10 hours per day—and disregarding the “additional hours” of travel
Magaziner claims to have worked, (2) disregarding Magaziner’s alleged on-call hours, and (3)
using only the smallest salary figure during the statutory period, the amount in controversy for
Magaziner’s overtime claim is $44,817.

Waiting Time Penalties Claim:

(v) Magaziner’s Second Cause of Action is brought pursuant to Labor

Code sections 201 through 203. Complaint, J 19. Pursuant to Labor Code section 203 (“Section

203”), Magaziner may recover so-called “waiting time” penalties for any wages not timely paid to
him upon termination of his employment. Per Section 203, unpaid (and untimely) termination
wages continue as a “penalty from the due date thereof at the same rate until paid or until an
action therefor is commenced ...” up to 30 days. Jd. § 203(a).

(vi) | Magaziner seeks the full value in waiting time penalties.

Complaint, § 18 (“Defendant has failed to pay Plaintiff all of his compensation owed based on

 

> The statute of limitations for Magaziner’s overtime claim is three years. Aubry v. Goldhor, 201
Cal. App. 3d 399, 404 (1988). Thus, if Magaziner’s allegations were true, he would be entitled to
overtime pay for the period of March 20, 2014, to June 30, 2016. Using only the lowest annual
salary Magaziner earned during this time, the calculation is as follows: $52,224 Annual Salary +
2080 Annual Hours = $25.11 Hourly Rate. $25.11 x 1.5 = $37.66 (Overtime Rate). $37.66 x 2
Hours Per Day x 5 days Per Week x 119 Weeks of Employment = $44,817,

BED BATH & BEYOND’S NOTICE OF REMOVAL -5- CASE NO
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hours worked during his employment, including overtime hours and on call hours. Defendant

knew that the compensation was owed, and refused and continues to refuse to compensate

' Plaintiff accurately for services rendered to Defendant.”). Accordingly, his claim places an

additional $9,346 in controversy.”
Wage Statement Penalties Claim:

(vii) Magaziner claims that, due to allegedly inaccurate wage statements,
he is entitled to $50 for the initial violation and $100 per pay period “for each additional violation
up to $4,000 plus an award of reasonable attorney’s fees and costs.” Complaint, J 21; see also
Cal. Lab. Code § 226(e).

(viii) Based on Magaziner’s allegation that he was “required to work a
minimum of 10 hours a day in one of sixteen stores to which he had been assigned, as well as
spend additional hours traveling amongst those stores,” (Complaint, { 6) there would have been
unrecorded and missing wages and hours on each itemized wage statement between the start of
the statutory period-——March 20, 2016—and his termination on June 30, 2016. During this
period, there were eight pay periods and corresponding wage statements. Herkness Decl., ] 9.
Thus, Magaziner’s claim for penalties puts an additional $850 in controversy.”

Defamation, Punitive Damages, and Attorneys’ Fees:

(ix) | Magaziner also has a claim for defamation and requests punitive

damages and attorneys’ fees. Setting aside any amounts attributable to his defamation claim and

request for attorneys’ fees, it is clear that, based only on his claim for punitive damages, more

than $75,000 is in controversy.°

 

3 This calculation uses Magaziner’s salary as of the time of his termination: $58,911.32. 30 days
x (($28.32 Hourly Rate x 8 Regular Hours) + ($42.48 Overtime Rate x 2 Overtime Hours)) =
$9,346.

4 The statute of limitations is one year. See, e.g., Blackwell v. SkyWest Airlines, Inc., 245 F.R.D.
453, 462 (S.D. Cal. 2007) (“Recovery under § 226(a) constitutes a penalty and is therefore
governed by a one-year statute of limitations under California Code of Civil Procedure §
340(a).”).

5 $50 Initial Violation Penalty + (8 Pay Periods x $100 Subsequent Violation Penalty) = $850.

° In determining whether a complaint meets the $75,000 threshold of 28 U.S.C. § 1332(a), a court
may consider the aggregate value of claims for compensatory and punitive damages, as well as
attorneys’ fees. See, e.g., Bell v. Preferred Life Assurance Soc’y, 320 U.S. 238, 240 (1943)

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(x) “When assessing the probable amount of unspecified punitive
damages for jurisdictional purposes, courts may look to verdicts in analogous cases asa
reasonable approximation.” See Campbell v. Hartford Life Ins. Co., 825 F. Supp. 2d 1005, 1008
(E.D. Cal. 2011). In this case, a review of verdicts shows that the amount in controversy is
satisfied.’ See, e.g., Gold Decl., Exh. C ($250,000 punitive damages award in Smith v. Orange
Blossom Lines, Inc., No. YC029244 (L.A. Cty. Sup. Ct. Sept. 25, 1998), a slander and libel suit
where plaintiff claimed that defendants were responsible for a letter that accused plaintiff, an
Army officer, of allowing his troops to use marijuana and alcohol, which resulted in loss of
promotion and loss of several prestigious positions for plaintiff); id., Exhs. D at p. 4 and E at {[]
32, 54 (showing punitive damages award of $3,000,000 in Sallustio v. Kemper Independence Ins.
Co., No. 34-2007-00882286 (Sac. Cty. Sup. Ct. May 22, 2014), a defamation action where
defendant told third parties that plaintiff—an employee of defendant—violated company policies,
was a poor performer, was incompetent, was an unskilled manager, and failed to perform his
duties). Thus, the amount in controversy in this action plainly exceeds $75,000. See Campbell,
825 F. Supp. 2d at 1009 (providing that “[w]hile an award of punitive damages and attorney’s
fees alone would not necessarily exceed $75,000, when viewed in combination with the alleged
compensatory damages totaling at least $60,000, the amount in controversy clearly exceeds the
jurisdictional minimum”).

8. Based on the foregoing, because there is complete diversity of citizenship between

 

(“Where both actual and punitive damages are recoverable under a complaint each must be
considered to the extent claimed in determining jurisdictional amount.”) (footnote omitted);
Goldberg v. CPC Int’l, Inc., 678 F. 2d 1365, 1367 (9th Cir. 1982) cert. denied, 459 U.S. 945
(1982) (attorneys’ fees may be taken into account to determine jurisdictional amount). Moreover,
in assessing whether the amount in controversy exceeds $75,000, the Court must presume that the
plaintiff will prevail on each and every one of his claims. Kenneth Rothschild Trust v. Morgan
Stanley Dean Witter, 199 F. Supp. 2d 993, 1001 (C.D. Cal. 2002), citing Burns v. Windsor Ins.
Co., 31 F.3d 1092, 1096 (11th Cir, 1994) (the amount in controversy analysis presumes that
“plaintiff prevails on liability”).

7 This notice discusses the nature and amount of damages placed at issue by Magaziner. BBBY’s
reference to specific damage amounts and related analysis are provided solely for the purpose of
establishing that the amount in controversy is more likely than not in excess of the jurisdictional
minimum. Nothing contained herein shall constitute an admission of liability or a suggestion that
Magaziner can or will recover damages from BBBY.

BED BATH & BEYOND’S NOTICE OF REMOVAL _7-
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the parties and because the amount in controversy, exclusive of interest and costs, exceeds

$75,000, this action may be removed to this Court.

Dated: June || , 2017

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BED BATH & BEYOND’S NOTICE OF REMOVAL
TO FEDERAL COURT

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